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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

   PERSONALIZED MEDIA                         §
   COMMUNICATIONS, LLC                        §
                                              §
   v.                                         §   Case No. 2:15-cv-001366-JRG
                                              §
   APPLE, INC.                                §


                         MINUTES FOR JURY TRIAL DAY NO. 3
                 HELD BEFORE U. S. DISTRICT JUDGE RODNEY GILSTRAP
                                     March 17, 2021

   OPEN: 8:41 AM                                                       ADJOURN:       5:34 PM

   ATTORNEYS FOR PLAINTIFF:                   See attached.

   ATTORNEYS FOR DEFENDANTS:                  See attached.

   LAW CLERKS:                                Lee Matalon
                                              Taylor Mauze
                                              Cason Cole

   COURT REPORTER:                            Shelly Holmes, CSR-TCRR

   COURTROOM DEPUTY:                          Andrea Brunson


   TIME       MINUTES
   08:41 AM   Court opened.
   08:41AM    Exhibits used prior day read into the record.
   08:42 AM   Court informed counsel one Juror was delayed due to weather.
   08:43 AM   While waiting for the Juror to arrive, Court heard offer of proof by Plaintiff.
   08:44 AM   Courtroom sealed.
   08:44 AM   Offer of proof on behalf of PMC by Robert Frederickson.
   08:49 AM   Completion of offer of proof by Mr. Frederickson.
   08:49 AM   Mr. Kline requested the Court to release those witnesses previously placed under the
              Rule.
   08:49 AM   Courtroom unsealed.
   08:51 AM   Court recessed awaiting the arrival of absent Juror.
   09:00 AM   Court reconvened. Jury entered the courtroom.
   09:02 AM   Mr. Frederickson introduced the video deposition of Michael Jaynes.
   09:06 AM   Courtroom sealed.
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   TIME       MINUTES
   09:06 AM   Video deposition of Michael Jaynes continued.
   09:17 AM   Video deposition of Michael Jaynes completed.
   09:17 AM   Courtroom unsealed.
   09:19 AM   Witness sworn. Direct examination of Michael John Pellegrino by Mr. Frederickson.
   09:57 AM   Courtroom sealed.
   10:07 AM   Courtroom unsealed.
   10:07 AM   Jury returned to jury room for recess.
   10:07 AM   Recess.
   10:27 AM   Court reconvened.
   10:28 AM   Jury returned to courtroom.
   10:28 AM   Direct examination of Michael John Pellegrino by Mr. Frederickson continued.
   10:40 AM   Courtroom sealed.
   10:40 AM   Direct examination of Michael John Pellegrino by Mr. Frederickson continued.
   11:29 AM   Pass the witness.
   11:29 AM   Off the record.
   11:30 AM   Back on the record.
   11:31 AM   Cross examination of Michael John Pellegrino by Mr. Ellisen Turner.
   12:04 PM   Courtroom unsealed.
   12:04 PM   Jury excused for lunch.
   12:06 PM   Court recessed for lunch.
   12:47 PM   Court reconvened.
   12:47 PM   Jury returned to courtroom.
   12:48 PM   Cross examination of Michael John Pellegrino by Mr. Ellisen Turner, continued.
   01:32 PM   Courtroom sealed.
   01:32 PM   Cross examination of Michael John Pellegrino by Mr. Ellisen Turner, continued.
   01:48 PM   Cross examination of Michael John Pellegrino by Mr. Ellisen Turner, completed.
   01:48 PM   Jury excused to jury room. Court took up issues offered by Mr. Frederickson re: the
              witness Mr. Pellegrino. Mr. Turner argued for the Defendant.
   01:52 PM   Jury returned to courtroom.
   01:53 PM   Redirect examination of Michael John Pellegrino by Mr. Frederickson.
   01:57 PM   Recross examination of Michael John Pellegrino by Mr. Ellisen Turner.
   01:58 PM   Pass the witness.
   01:58 PM   Plaintiff rests its case in chief.
   01:59 PM   Courtroom unsealed.
   01:59 PM   Mr. Arovas introduced the video deposition of Dr. Guy Tribble.
   02:59 PM   Video deposition of Dr. Guy Tribble completed.
   03:00 PM   Jury excused for afternoon break.
   03:00 PM   Court recessed for afternoon break.
   03:30 PM   Court reconvened.
   03:31 PM   Jury returned to courtroom.
   03:32 PM   Witness sworn. Direct examination of Roger Pantos by Mr. Arovas.
   03:40 PM   Courtroom sealed.
   03:41 PM   Direct examination of Roger Pantos by Mr. Arovas, continued.
   03:49 PM   Courtroom unsealed.


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   TIME       MINUTES
   03:50 PM   Direct examination of Roger Pantos by Mr. Arovas, continued.
   04:38 PM   No cross examination of Roger Pantos by Plaintiff.
   04:38 PM   Witness excused.
   04:39 PM   Witness sworn. Direct examination of Dr. Stephen Wicker by Mr. Arovas.
   05:31 PM   Jury returned to jury room. Jury excused until tomorrow morning.
   05:34 PM   Court recessed until tomorrow morning.




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